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 6
 7                               UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9                                                *****
10   UNITED STATES OF AMERICA,                    )       Case No CRF-10-0417 AWI
                                                  )
11                                                )       ORDER SEALING
                           Plaintiffs,            )       DEFENDANT MICHAEL MANFREDI’S
12                                                )       OBJECTIONS TO GOVERNMENT’S
                                                  )       DECLARATIONS, REPLY TO
13   vs.                                          )       OPPOSITION TO HIS GARRITY
                                                  )       MOTION, DECLARATION
14                                                )       E. MARSHALL HODGKINS, AND ALL
                                                  )       ATTACHMENTS
15   MICHAEL MANFREDI et al.,                     )
                                                  )       COURT:         Honorable Anthony W. Ishii
16                         Defendant.             )
17
18          Upon request of the defendant, and GOOD CAUSE APPEARING THEREFOR, it is
19   ordered that his Reply to the government’s Opposition to his Garrity Motion, his Objections to
20   Government’s Declarations, the declaration of E. Marshall Hodgkins, and all attachments shall
21   be filed under seal and shall be served upon the following party:
22   Shelly Ward
     U.S. Dept. Of Justice
23   Patrick Henry Building
     601 D. St. NW, Rm 5120
24   Washington, DC 20004
25   IT IS SO ORDERED.
26
     Dated:    February 28, 2012
27   0m8i78                                           CHIEF UNITED STATES DISTRICT JUDGE
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